EXHIBIT 1
Case l:18-cr-00408-TSE ^SEALED* Document 1 Filed 11/08/18 Page 1 of 14 PageID# 1


                                                                                         FILED
                                                                                     IMOPEK COURT

                           IN THE UNITED STATES DISTRICT COUR''
                           FOR THE EASTERN DISTRICT OF VIRGINl                             S 2018
                                        Alexandria Division                 r ta.ERK.U.S. DISTRICT COURT
                                                                                 ALEXANDRIA.VIRGINIA

  UNITED STATES OF AMERICA                      CRIMINAL NO,: l:18-CR-408

          V.                                    Count 1: Conspiracy to Commit Computer
                                                Intrusions(18 U.S.C.§ 371)
  lURIIAKHALAIA,
                                                Coxmt 2: Conspiracy to Commit Wire and Bank
          a/k/a,                                Fraud(18 U.S.C.§ 1349).

  lOpiii /taBVTOBHi AXAJIAH,                    Count 3: Access Device Fraud(18 U.S.C.
                                                § 1029(a)(3))
         a/k/a,
                                                Count 4: Access Device Fraud(18 U.S.C.
  Yuriy Akhalaye,                               § 1029(a)(3))

         Defendant.                             Forfeiture Notice



                                                Filed Under Seal


                     NOVEMBER 2018 TERM - AT ALEXANDRIA,VIRGINIA

                                          INDICTMENT

        At all times relevant to this indictment:

        1.         Defendant lURII AKHALAIA,who also went by the names lOpiftflaBiflOBHU

 AXAJIA^ and Yuriy Akhalaye, was a Ukrainian national residing primarily in Ukraine.

        2,         The term "botnet" refers to a network ofcompromised computers(known as

 **bots"). Botnet operators are able to covertly access the hots for a variety ofmalicious purposes,

 including stealing financial information,such as online banking passwords and login credentials,

 from the hots. Botnet operators frequently use the stolen information to commit fraud, or sell it

 to others who intend to use the information to commit firaud.
Case l:18-cr-00408-TSE *SEALED* Document 1 Filed 11/08/18 Page 2 of 14 PagelD# 2




         3.     Point-of-sale malware is a specific type of malicious software(or"malware")that

 is designed to steal payment card data as it traverses through a merchant's computer network for

 payment processing.

        4.      The terms "track data" or"dumps"refer to data that is encoded on the magnetic

 stripe on the back ofa payment card. Track data contains information including the card number

 and expiration date, and certain personally identifiable information("PII")ofthe accoimt holder.

 Track data can be used to create a counterfeit payment card that can be used to make an in-

 person purchase at a retail location or transfer money out ofan account. The term "fullz" refers

 to credit-card-related information including stolen payment card information, certain PII ofthe

 accoimt holder, and card verification codes that can be used to make online purchases.

        5.      The term "carding forum"refers to black market websites where subjects

 involved in carding come together to discuss and commit criminal activities typically related to

 payment card fraud, computer hacking, and other related criminal activity. Carding forum

 members register anonymously by creating a moniker, and will typically enter an email address

 during the registration process as a method to be contacted for updates regarding their account on

 the website or as a method to authenticate their identify ifthey are locked out oftheir accounts.

        6.      Jabber is an instant messaging platform.

        7.      At all times material to this Indictment,the corporate headquarters of Bank A,a

 major bank that issues payment cards, were located within the Eastern District of Virginia. At all

 times material to this Indictment, Bank A was a "financial institution" within the meaning of18

 U.S.C. § 20 in that, among other reasons, it held funds that were insured by the Federal Deposit

 Insurance Corporation(FDIC). Bank A issued payment card numbers branded with the Visa and
Case l:18-cr-00408-TSE *SEALED* Document 1 Filed 11/08/18 Page 3 of 14 PagelD# 3




 MasterCard International Incorporated credit card logos, which were issued by other United

 States financial institutions.

         8.           is an individual who was indicted by a grand jury in the Eastern District of

 Virginia for hacking and carding-related crimes and convicted ofwire fraud in 2017. Atthe time

 ofall acts listed in this indictment,    was residing in California.
Case l:18-cr-00408-TSE *SEALED* Document 1 Filed 11/08/18 Page4of 14 PagelD#4




                                             COUNT ONE
                              (Conspiracy to Commit Computer Intrusions)

 THE GRAND JURY CHARGES THAT:


         9.       The factual allegations in Paragraphs 1 through 8 are re-alleged and incorporated •

 as iffully set forth here.

         10.      From on or about at least 2008 through on or at least 2017,the defendant, lURII

 AKHALAIA,who will be first brought to the Eastem District ofVirginia, did knowingly

 combine, conspire, confederate, and agree, with^B and other persons known and unknown to

 the Grand Jury, to commit offenses against the United States, that is;

               a. to knowingly and with intent to defraud access a protected computer without

                  authorization and exceed authorized access,and by means ofsuch conduct further

                  the intended fraud and obtain anything ofvalue, and to aid and abet the same,in

                  violation ofTitle 18, United States Code,Sections 1030(a)(4) and 2; and

              b. to knowingly cause the transmission ofa program,informatmn,code, and

                  command,and as a result ofsuch conduct, intentionally cause damage without

                  authorization to 10 or more protected computers during any one year period, and

                  to aid and abet the same,in violation ofTitle 18, United States Code,Sections

                  1030(a)(5)(A)and (c)(4)(A)(i)(VI) and 2,

        11.       In particular, the goal ofthe conspiracy was to make a financial profit by infecting

 computer networks ofU.S. merchants with point-of-sale malware designed to steal customers*

 payment card data. AKHALAIA and his co-conspirators accomplished this by renting botnets

containing compromised American computers from other criminals and obtaining permission

from those criminals to infect already-compromised computer networks with point-of-sale

malware that AKHALAIA and another co-conspirator developed. Once infected with point-of-

                                                   4
, Case l;18-cr-00408-TSE *SEALED* Document 1 Filed 11/08/18 Page 5 of 14 Page!D# 5




   sale malware, AKHALAIA and his co-conspirators were able to steal payment card data from

   the victim computers;repackage it; and sell it to other cybercriminals-or otherwise use the

   stolen payment card data themselves to commit fraud,and/or recruit others to help them conunit

   fraud. At all relevant times, AKHALAIA and his co-conspirators acted with the purpose of

   committing unauthorized computer intrusions against protected computers and using that

   information to commit fraud or cause fraud to be committed.


                                         Manner and Means


           12.    As part ofthe conspiracy, AKHALAIA worked with at least one other software

   developer to create and operate point-of-sale malware, which was designed to steal payment

   information. AKHALAIA and/or other co-conspirators installed this malware on compromised

   merchants* networks.

          13.     As part ofthe conspiracy, AKHALAIA and            agreed that      would obtain

   access to botnets containing compromised American computers from additional co-conspirators

   known to m
          14.     As part ofthe conspiracy,AKHALAIA installed point-of-sale malware on

   compromised merchant networks on the botnets procured by m|In exchange,               and
   AKHALAIA provided the co-conspirator botnet operators a share ofthe income generated from

   the sale ofstolen payment card data harvested from those botnets.

          15.     As part ofthe conspiracy, AKHALAIA and           used AKHALAIA*s point-of-
                                                                                         «



   sale malware to steal payment card data issued by U.S. financial institutions, including Bank A,

   from infected computers. AKHALAIA andm then repackaged the stolen payment card data,
   sell it to other cybercriminals or use it themselves to commit fraud,and then divide the proceeds

   between themselves. On average, AKHALAIA and^|harvested and sold approximately
. Case l:18-cr-00408-TSE *SEALED* Document 1 Filed 11/08/18 Page 6 of 14 Page!D# 6



   10,000 unique payment cards per week,nearly all ofwhich were issued by U.S. financial

   institutions,such as Bank A.

          16.      As part ofthe conspiracy, AKHALAIA and HI caused money to be transferred

   from compromised financial accounts to accounts within the control ofthe conspiracy.

                                               Overt Acts


          17.      It was further part ofthe conspiracy that the following acts in furtherance ofand

   to effect the objects ofthe above-described conspiracy were committed in the Eastem District of

   Virginia and elsewhere:

                a. On or about January 5,2017,       sent AKHALAIA via Jabber a chart listing the

                   botnets from which certain percentages ofdumps they sold had originated. The

                   purpose ofthis chart was to provide an accounting ofprofits owed to the botnet

                   operators as well as|[H       AKHALAIA. The accounting contained numerous

                   references to "US," or the United States, where the dumps pertained to U.S.

                   financial accounts.

             b. On or about January 7,2017,          messaged AKHALAIA via Jabber and stated

                  that one ofhis contacts asked for dumps belonging to U.S.financial institutions

                   and projected that^H*s contact would buy at least 3,000 dumps from them.

             c. On or about January 13,2017,AKHALAIA messaged Hi"via Jabber and told
                   him that the ppint-of-sale malware **has been updated"because Windows

                  Defender, an antivirus program that is included with the purchase of Microsoft

                   Windows operating systems, had been "updated." Later in the conversation,

                   AKHALAIA explained that Windows had "issued a patch against us" and when
Case l:18-cr-00408-TSE *SEALED* Document 1 Filed 11/08/18 Page 7 of 14 PagelD# 7




                  asked whether they had lost any hots in the botnets within their control,

             AKHALAIA responded, **Not a lot died off, but[some]died off'.

          d. On or about January 13,2017, AKHALAIA sentH via Jabber a unique
             password consisting ofletters, numbers, and special characters, along with two

             links to a file-sharing website. Two password-protected compressed files with a

             file-creation date ofJanuary 13,2017 were recovered from^J's personal laptop
             that had been seized at the time ofm|s arrest. Those two files opened with the
             unique password AKHALAIA had sent toU on January 13,2017. The
             compressed files contained more than 21,000 unique pieces oftrack data, or

             dumps. Nearly all ofthis fmancial data corresponded to the accounts ofU.S.

             financial institutions. Over 900 corresponded to Bank A payment cards.

             AKHALAIA and|^|sold much ofthis track data,including track data linked to
             Bank A accounts,to co-conspirators who used the information to access U.S.

             accoimts,including Bank A accounts, without authorization to make fi'audulent

            transactions. These co-conspirators stole more than $20,000 ftom Bank A

             accounts alone. Bach time these co-conspirators accessed a Bank A account,they

             accessed payment card networks controlled by Bank A and they furthered a

            scheme to defi:aud a financial institution in the Eastern District ofVirginia.

          e. On or about January 16,2017, AKHALAIA messagedH via Jabber,"You
            have a lot left?" in reference to dumps that had not yet been sold.       responded,

            "Yeah, 13k USA and 4k and some change aren't USA [dumps]". The two later

            discussed whether the number of dumps they had received from a particular

            botnet were higher or lower than average.
Case l:18-cr-00408-TSE *SEALED* Document 1 Filed 11/08/18 Page 8 of 14 Page!D# 8



          f. On or about January 17,2017,AKHALAIA askedHII via Jabber,"did the pos
             die?"in reference to whether the point-of-sale malware was no longer providing

             them with dumps. AKHALAIA later discussed with            over Jabber that a

             botnet providing them with Indonesian dumps was no longer working.

          g. On or about January 19,2017, AKHALAIA provided              via Jabber,four

             Bitcoin addresses into which      subsequently deposited Bitcoin. On that same

             day,      messaged AKHALAIA via Jabber a list ofthe amounts ofBitcoin that

             m had transferred to each Bitcoin address.
          h. On or about January 26,2017, AKHALAIA messaged J/H via Jabber and
             suggested that, with regard to dumps from botnet logs that had not been sold to

             other criminals,"Ifno one buys,let's unload [them]"- meaning that the two

             could supply the unsold dumps to various carding forum websites that would pay

             them once the dumps were sold.

               (All in violation ofTitle 18,United States Code,Section 371)
Case l:18-cr-00408-TSE *SEALED* Document 1 Filed 11/08/18 Page 9 of 14 PagelD# 9




                                             COUNT TWO
                              (Conspiracy to Commit Wire and Bank Fraud)

 THE GRAND JURY FURTHER CHARGES THAT:

         18.      The factual allegations in Paragraphs 1 through 17 are re-alleged and incorporated

 as iffully set forth here.

         19.      From at least on or about 2008 througih at least on or about 2017,the defendant,

 lURII AKHALAIA,who will be first brought to the Eastern District of Virginia, did knowingly

 combine,conspire, confederate, and agree, with other persons known and unknown to the Grand

 Jury,to commit the following crimes:

               a. to devise and intend to devise a scheme and artifice to defraud, and for obtaining
                  money and property, to wit, the scheme described in paragraphs 14 through 17,
                  such scheme affecting a financial institution, by means of materially false and
                  firaudulent pretenses, representations, and promises,and for the purpose of
                  executing such scheme and artifice, and attempting to do so, to transmit and cause
                  to be transmitted, by means ofwire communication in interstate and foreign
                  commerce, certain writings, signs, signals, pictures, and sounds, to wit, payment
                  card information was transmitted over the Intemet from,among other places,
                  ATMs located in the United States and other locations outside ofthe
                  Commonwealth ofVirginia, to computers located in the Eastern District of
                  Virginia,in violation ofTitle 18, United States Code, Section 1343; and

              b. to knowingly execute or attempt to execute a scheme to defraud a financial
                 institution and to obtain any ofthe moneys,funds, credits, assets, securities, or
                 other property owned by, or under the custody or control qf, a financial
                 institution, by means offalse or fraudulent pretenses, representations, or promises,-
                  in violation ofTitle 18,United States Code, Section 1344.

        20.       In particular, the goal ofthe conspiracy was to make a financial profit by stealing

 financial data from networks ofinfected computers and then selling that stolen data to others

 with the intent that the stolen data be used to commit fraud;to use the stolen data themselves to

 commit fraud; and/or to recruit others to help them commit fraud.

        21.       The **manner and means" ofthe conspiracy charged in this count are those stated

 in paragraphs 13 through 16.
Case l:18-cr-00408-TSE *SEALED* Document 1 Filed 11/08/18 Page 10 of 14 PagelD# 10




         22.    The "overt acts" or acts committed in furtherance ofthis conspiracy include those

  alleged in paragraph 17(a)-(h) above.


                  (All in violation ofTitle 18, United States Code,Section 1349)




                                               10
Case l:18-cr-00408-TSE ^SEALED* Document 1 Filed 11/08/18 Page 11 of 14 Page!D# 11



                                           COUNT THREE
                                         (Access Device Fraud)

  THE GRAND JURY FURTHER CHARGES THAT;

          23.     The factual allegations in Paragraphs 1 throu^ 22 are re-alleged and incoiporated

  as iffully set forth here,

         24.     On or about January 13,2017,the defendant,lURII AKHALAIA,who will be

  first brou^t to the Eastern District ofVirginia, acting outside the territorial jurisdiction ofthe

  United States,knowmgly and with intent to defraud,possessed fifteen or more devices which are

  unauthorized access devices, to wit,over 21,000 dumps that were issued owned, managed,

  and/or controlled by a U.S. financial institution, account issuer, credit card system member, or

  other entity organized under the laws ofthe United States or any U.S. state or territory, and said

  possession affected interstate and foreign commerce.

            (All in violation ofTitle 18, United States Code,Sections 1029(a)(3)and 2)




                                                   11
Case l:18-cr-00408-TSE *SEALED* Document 1 Filed 11/08/18 Page 12 of 14 PagelD# 12




                                           COUNT FOUR
                                        (Access Device Fraud)

  THE GRAND JURY FURTHER CHARGES THAT:

         25.      The factual allegations in Paragraphs 1 through 22 are re-alleged and incorporated

  as iffully set forth here.

         26.      At least from on or about November 9,2013 and continuing until through at least

  on or about July 23,2018, the defendant,lURII AKHALAIA, who will be first brou^t to the

  Eastern District of Virginia,knowingly and with intent to defraud, possessed fifteen or more

  unauthorized access devices, including, but not limited to, credit card "fullz" containing the

  credit card numbers issued by U.S.financial institutions, as well as the Social Security numbers

  ofU.S. persons and other PII and financial information ofU.S. persons, and said possession

  affected interstate and foreign commerce.

             (All in violation ofTitle 18, United States Code,Section 1029(a)(3)and 2)




                                                  12
Case l:18-cr-00408-TSE *SEALED* Document 1 Filed 11/08/18 Page 13 of 14 PagelD# 13



                                      NOTICE OF FORFEITURE

           The Grand Jury finds that there is probable cause that the property described in this

   NOTICE OF FORFEITURE is subject to forfeiture pursuant to the statutes described herein.

           27.    The defendant is hereby notified, pursuant to Fed. R. Grim. P. 32.2(a),that upon

   conviction ofthe offense set forth in Count 1 ofthe Indictment,the defendant,lURU

   AKHALAIA,shall forfeit to the United States ofAmerica,pursuant to Title 18, United States

   Code,Section 1030(i)(1), any personal property used or intended to be used to commit or

. facilitate the offense and any property, real or personal,constituting or derived from, any

   proceeds that such person obtained, directly or indirectly, as a result ofsuch violation.

          28.     The defendant is hereby notified, pursuant to Fed. R. Crim. P.32.2(a),that upon

   conviction ofthe offenses set forth in Count 2 of this Indictment,the defendant,lURII

   AKHALAIA,shall forfeit to the United States ofAmerica,pursuant to Title 18, United States

   Code,Section 982(a)(2)(A), any property constituting, or derived from,proceeds the person

   obtained directly or indirectly, as the result ofsuch violation.

          29.     The defendant is hereby notified, pursuant to Fed. R. Crim. P. 32.2(a), that upon

   conviction ofthe offense set forth in Counts 3 and 4 ofthis Indictment, the defendant,lURII

   AKHALAIA,shall forfeit to the United States of America,pursuant to Title 18,United States

   Code, Section 982(a)(2)(B), any property constituting, or derived from,proceeds traceable to

   such violation, and pursuant to Title 18, United States Code,Section 1029(c)(1)(C), any personal
   property used or intended to be used to commit the offense.

          30.     If any ofthe property described above as being forfeitable pursuant to Title 18,

   United States Code, Sections 982(a)(2)(A)and(B), 1029(c)(1)(C), and 1030(i)(l) as a result of

   any act or omission ofthe defendant:

                  a.      cannot be located upon the exercise ofdue diligence;
                                                    13
Case l:18-cr-00408-TSE *SEALED* Document 1 Filed 11/08/18 Page 14 of 14 Page!D# 14



                 b.       has been transferred or sold to, or deposited with,a third party;
                 c.     ■ has been placed beyond the jurisdiction ofthe court;
                 d.       has been substantMly diminished in value; or
                 e.       has been commingled"with other property which cannot be divided
                         without difficulty;

  it is the intention ofthe United States of America, pursuant to Title 21, United States Code,

  Section 853(p),as incorporated by Title 18, United States Code,Sections 982(b)(1), 1029(c)(2),
  and 1030(i)(2)to seek forfeiture ofall other property ofthe defendant as described above.

            (All pursuant to Title 18, United States Code, Sections 982,1029,and 1030)


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                                                      Foreperson ofthe Grand Jury
  G.ZACHARY TERWE.LIGER
  UNITED STATES ATTORNEY



  Laura Fong   %
  Kellen S. Dwyer
  Assistant United States Attorneys




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